          Case
  Peter Hardin    2:24-cr-00483-HDV
               (SBN 295741)                 Document 30         Filed 08/22/24       Page 1 of 7 Page ID #:87
  Peter Hardin Law APC
  100 Bayview Circle # 210
  Newport Beach, CA 92660
  (949)940-6935




                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
                                                                   CASE NUMBER
  UNITED STATES OF AMERICA,
                                                      PLAINTIFF
                                                                                      2:24-CR-00483-HDV
                                   v.
  Samir Ousman Alsheikh
                                                                                  APPLICATION FOR
                                                                      REVIEW/RECONSIDERATION OF ORDER
                                                                              SETTING CONDITIONS OF
                                                   DEFENDANT.                   RELEASE/DETENTION
                                                                   (18 U.S.C. §3142) AND REQUEST FOR HEARING

       Application is made by G plaintiff G✔defendant Samir Ousman Alsheikh
  that a hearing be held to review /reconsider the decision of

  G United States District Judge                                             by order dated:

  ✔Magistrate Judge Patricia Donahue
  G                                                                          by order dated: 7/12/2024

       ✔ denying release and imposing detention under subsection G (d) or G
       G                                                                  ✔(e) of Title 18 U.S.C. §3142; or
       G ordering release upon certain conditions, or
       G denying detention.

      This application is made G ✔pre-sentence G post-sentence based on the following facts not previously considered by
  said judicial officer or changed circumstances as follows:
  Please see attached.



       Relief sought (be specific):
  Order for release upon certain conditions, including posting of a bond, the deeding of real property, and/or unsecured
  affidavits of surety, location monitoring, and a no contact order.



      Counsel for the defendant and plaintiff United States Government consulted on 8/12/2024
  and opposing counsel declines to stipulate to an order providing the relief sought.

                               ✔AUSA G Defendant’s Counsel G PSA G Interpreter G USM G Probation
  ✔ Telephonic notice given to G
  G
  on 8/21/2024                          .

                         ✔required G not required. Language
       An interpreter is G                                         Arabic
                      ✔
       Defendant is G in custody G not in custody.

  8/21/2024                                                         /s/ Peter Hardin, counsel for Samir Alsheikh
  Date                                                              Moving Party


                         APPLICATION FOR REVIEW/RECONSIDERATION OF ORDER SETTING CONDITIONS OF
                                RELEASE/DETENTION, (18 U.S.C. §3142) AND REQUEST FOR HEARING
CR-88 (06/07)
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  1   Peter Hardin Law APC
      Peter Hardin (SBN 295741)
  2   100 Bayview Circle #210
      Newport Beach, CA 92660
  3   Telephone: (949) 940-6935
      peter@hardindefense.com
  4
      Counsel for Samir Ousman Alsheikh
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  6
  7                       UNITED STATES DISTRICT COURT
  8                      CENTRAL DISTRICT OF CALIFORNIA
  9
      UNITED STATES OF AMERICA,                CASE NO. 24-CR-00483-HDV
10
11                       Plaintiff,            MEMORANDUM IN SUPPORT
                                               OF APPLICATION FOR
12                v.                           RECONSIDERATION OF
                                               DETENTION ORDER
13    SAMIR OUSMAN ALSHEIKH,

14                       Defendant.

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18          Samir Alsheikh, through his counsel of record, hereby files this
19    Memorandum of Support of his Application for Reconsideration of the July 12,
20    2024 detention order.
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22    Dated: August 21, 2024          Respectfully submitted,
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24                                    /s/ Peter Hardin
                                      Peter Hardin
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26                                    Counsel for Samir Ousman Alsheikh

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                 MEMORANDUM ISO APPLICATION FOR RECONSIDERATION
                              OF DETENTION ORDER
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  1                                   MEMORANDUM
  2   I.    INTRODUCTION
  3         Samir Alsheikh is charged with fraud and misuse of visas, in violation of 18
  4   U.S.C. § 1546(a) and attempted unlawful procurement of naturalization in
  5   violation of 18 U.S.C. § 1425(a). Neither of these are crimes of violence, nor are
  6   they related to flight. Over the past several years, Mr. Alsheikh has split his time
  7   between visiting his three of his children, who live in South Carolina and
  8   California, and his fourth child, who lives in Damascus, Syria.
  9         While in the U.S., Mr. Alsheikh usually stays with his daughter and son-in-
10    law in Long Beach. They have given him two grandchildren, on whom he dotes.
11    Mr. Alsheikh’s family, who are fully aware of his background and the charges he
12    faces, wholeheartedly support him. Five of them are willing to put their life
13    savings and property on the line as sureties to secure his pretrial release. Their
14    willingness to support Mr. Alsheikh, coupled with appropriate conditions
15    fashioned by the Court, demonstrate that his appearance can be assured and any
16    danger to the community can be minimized. Furthermore, Mr. Alsheikh is dealing
17    with serious medical issues for which he is not receiving adequate treatment in
18    detention. Finally, the circumstances surrounding Mr. Alsheikh’s apprehension
19    which the government found suspicious and indicative of potential future flight all
20    have reasonable, innocent explanations. For all these reasons, the Court should
21    release Mr. Alsheikh on bond.
22    II.   PROCEDURAL HISTORY
23          On July 12, 2024, Mr. Alsheikh made his initial appearance in front of the
24    Honorable Patricia Donahue on a complaint alleging a violation of 18 U.S.C. §
25    1425, attempted naturalization fraud. Although pretrial services recommended
26    release on bond, after a brief detention hearing where no potential sureties were
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  1   put forth, the Court ordered that Mr. Alsheikh be detained pending trial. Dkt. No.
  2   15.
  3            The grand jury indicted Mr. Alsheikh on August 8, 2024. Dkt. No. 24. The
  4   grand jury did not indict him for the possession or receipt of any silencers. Id.
  5   III.     ADDITIONAL SURETIES
  6            Since Mr. Alsheikh’s initial appearance, five members of his family have
  7   come forward to serve as sureties by signing bonds backed by liquid assets and
  8   being willing to post equity in real property. The total amount offered by these
  9   sureties approaches $2,500,000. These individuals know Mr. Alsheikh well, are
10    familiar with his history, and are unflagging in their support – so much that they
11    are willing to back their faith in Mr. Alsheikh with their life savings and property.
12    These sureties include:
13          • Sara Al Chikh and her husband – Sara Al Chikh is Mr. Alsheikh’s daughter.
14             She and her husband are willing to sign a $1.3 million bond backed by
15             liquid assets they own in investment accounts. They are also willing to
16             deed $170,000 in equity in a property they own.
17          • Sali Al Chikh and her husband – Sali Al Chikh is Mr. Alsheikh’s daughter.
18             She and her husband are willing to sign a bond in the amount of $700,000
19             backed by liquid assets they own in investment accounts. They are also
20             willing to deed $146,000 in equity in real property they own.
21          • Rami Al Cheikh – Mr. Al Chikh is Mr. Alsheikh’s son. He is willing to
22             deed $170,000 in equity in two properties. He is also willing to sign a bond
23             in the amount of $15,000 backed by liquid assets he owns in an investment
24             account.
25             All of the proposed sureties have been advised of the responsibility that
26    comes with being a surety, and the reality that the government could and would
27    seek to collect on these obligations should Mr. Alsheikh violate the terms of any
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  1   bond. Their belief in Mr. Alsheikh is such that they are willing to back their
  2   beliefs with collateral. They have proof of all the aforementioned liquid assets and
  3   equity in real property, which they will happily provide to the court, though they
  4   request that it not become part of the public record in this case. The proffered
  5   sureties, coupled with reasonable restrictions imposed by the Court, include house
  6   arrest, daily check-ins, and location monitoring, provide reasonable assurance that
  7   Mr. Alsheikh will appear and will not present a danger to the community.
  8   IV.   HEALTH CONCERNS REQUIRING TREATMENT
  9         Since Mr. Alsheikh’s initial appearance, his family has been able to
10    assemble his medical records, which paint a picture of an elderly man in chronic
11    pain and who needs ongoing treatment to deal with mobility issues and to monitor
12    serious medical conditions. Despite his and his counsel’s best efforts, Mr.
13    Alsheikh is not receiving adequate care in custody. Here is a summary of a few of
14    the health issues with which Mr. Alsheikh struggles:
15       • X-rays of Mr. Alsheikh’s back show spinal subluxations and degenerative
16          arthritis in his lumbar spine creating dysfunction and pain in his low back.
17          His chiropractic doctor recommended that he be treated 2-3 times per week,
18          and that in his current condition, it is evident that he is unable to stand for
19          long periods of time or walk long distances.
20       • In December of 2023, Mr. Alsheikh was diagnosed with Leukoplakia, a
21          condition that causes discolored patches to appear inside of his mouth and
22          throat and that carries with it a heightened risk of oral cancer. His doctor
23          recommended that he be re-evaluated and screened every six months.
24       • In March of 2023, Mr. Alsheikh reported significant pain in his abdomen
25          and received an ultrasound, which revealed cysts in each of his kidneys as
26          well as borderline fatty liver disease. His doctors recommended that he be
27          re-evaluated and screened every six months.
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  1   Mr. Alsheikh should not be sentenced to pain and great medical risk, especially
  2   pre-trial. He should be released on bond with restrictions and allowed to receive
  3   the care he needs from Long Beach Memorial, where he has received much of his
  4   medical attention, and other local medical practitioners. Mr. Alsheik’s family will
  5   gladly provide the Court with his medical records, which confirm the
  6   aforementioned conditions.
  7   V.    CONCERNS REGARDING ONE-WAY FLIGHT AND CASH
  8         At Mr. Alsheikh’s initial appearance, the government made much of the
  9   fact that Mr. Alsheikh was apprehended at Los Angeles International Airport
10    traveling to Lebanon on a one way ticket with six thousand dollars in cash, factors
11    which appear to have swayed Judge Donahue’s decision to detain him. What Mr.
12    Alsheikh’s family did not have the chance to assert is that Mr. Alsheikh has
13    always traveled to and from Damascus on one way tickets. His family can show
14    proof of this history of his travel. Because there are no longer direct flights in and
15    out of Damascus, he flies into neighboring Lebanon and obtains overland
16    transport from there to his home. This is the same way everyone else traveling in
17    and out of Syria travels – there is no other way to get into and out of the country.
18    Furthermore, Mr. Alsheikh always carries cash on his return home. Due to
19    runaway inflation in Syria, his government pension is a pittance. His children
20    give him cash on which to live because there is no reliable banking in Syria, and
21    one cannot wire or otherwise electronically transfer money into or out of the
22    country. Finally, although the government made it sound like Mr. Alsheikh was
23    fleeing the U.S., the truth is that his daughter had booked his flight at least two
24    weeks before. The government knew where Mr. Alsheikh was staying and could
25    have arrested him at any time prior to his trip home.
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  1   IV.   CONCLUSION
  2         For all the reasons set forth above, Mr. Alsheikh respectfully requests the
  3   Court (1) grant a hearing to allow new counsel to address the changed
  4   circumstances in this matter; and (2) grant Mr. Alsheikh bond during the
  5   pendency of this case.
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